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                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 In re:                                )
                                       )   Honorable Janet S. Baer
CITE, LLC.,                            )
                                       )   Case No. 21-13730
          Debtor.                      )
                                       )   Subchapter V-Chapter 11
                                       )
                   ORDER AUTHORIZING SALE FREE AND CLEAR

      This matter coming before the Court for the final hearing on the motion (the

"Sale Motion") [Docket No. 164] filed by the Trustee (as defined in ¶ 3) for the

captioned Bankruptcy Estate (the "Trustee") created when the Debtor, CITE, LLC

(the "Debtor") filed its petition for relief under the United States Bankruptcy Code

(11 U.S.C. §§ 101, et. seq., the "Bankruptcy Code") seeking, among other things,

orders approving bidding procedures, and authorizing and approving the sale of the

Debtor's assets free and clear of liens, claims and encumbrances pursuant to a

purchase and sale agreement; and the Court having entered an order (the "Bidding

Procedures Order") [Docket No. 169] on May 18, 2022, authorizing and

approving, among other things, bidding procedures in connection with the sale of

substantially all of the Debtors' assets, and scheduling an auction; and the Court

having reviewed the record in this Case, and having heard statements of counsel;

and the Court being fully advised in the premises and having determined that the

legal and factual bases set forth in the Sale Motion and those presented to the

Court at the Sale Hearing establish just cause for the relief granted herein;




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      NOW, THEREFORE, THE COURT HEREBY FINDS, CONCLUDES AND/OR

ORDERS THAT:


      (1) This Court has jurisdiction and authority to enter this Order and grant

the relief set forth herein pursuant to 28 U.S.C. §§ 1334 and 157(b)(2)(A), (N) and

(0) and §§ 363(b) and (f) of the Bankruptcy Code. The venue of this Chapter 11 Case

(the "Case") in this District is proper under 28 U.S.C. §§ 1408 and 1409. The

statutory predicates for the relief sought herein are §§ 105 and 363 of the

Bankruptcy Code and Bankruptcy Rules 2002 and 6004.


      (2) The Court intends for this Order to be a final and appealable order within

the meaning of 28 U.S.C. § 158(a).


      (3) On December 3, 2021 (the "Petition Date"), the Debtor filed its voluntary

petition for relief under chapter 11 of the Bankruptcy Code commencing the Case.

The Debtor designated itself as a small business debtor eligible for relief under

"Subchapter V" of Chapter 11. The Office of the United States Trustee appointed

Robert Handler, as the Subchapter V Trustee for the Case (the "Trustee").


      (4) On March 25, 2022, the Court entered an order that removed CITE, LLC

as debtor-in-possession under 11 U.S.C. § 1185 and provided that under 11 U.S.C. §

1183(b)(5), the Debtor's duties under 11 U.S.C. §§ 704(a)(8) and 1106(a)(1), (2), and

(6) will be performed by Robert Handler, the Subchapter V Trustee.




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      (5) The Debtor's primary assets consist of Real Property commonly known as

505 N. Lake Shore Drive, Units 207, 209, 209-A, 224, and 7000, Chicago, IL 60611.

The Debtor's assets also consist of the tangible personal property used and useful in

the operation of the restaurant known as Cité Restaurant located on the 70th floor of

Lake Point Tower (the foregoing parcels of real estate are collectively referred to as

the "Real Estate" and the tangible property used and useful in the operation of

CITE LLC, other than the Real Estate, is known as the "Personal Property" and

collectively the Real Estate and the Personal Property are known as the "Sale

Property").1


      (6) On May 18, 2022, the Court entered a Sale Procedures Order authorizing

the Trustee to implement a process for selling the Sale Property. [Docket No. 169]


      (7) In accordance with the Sale Procedure Order, notice of the Auction was

provided to all parties in interest. As evidenced by the certificate of service filed on

the Docket on June 2, 2022 [Docket No. 184], proper, timely, adequate and

sufficient notice of the Sale Motion, the relief granted herein and the Sale Hearing

has been provided in accordance with §§ 102 and 363(b) of the Bankruptcy Code,

Bankruptcy Rules 2002, 6004, 9006, 9007, 9008 and 9014, and the Sale Procedures




      1
        For the avoidance of doubt, the Sale Property consists of the assets set forth
in Section 2.1 of the PSA appended hereto as Exhibit 1. The Property does not
include any causes of action available to the Bankruptcy Estate pursuant to any of
the provisions under §§ 541 through 553 of the Bankruptcy Code.


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Order. Such notice was good and sufficient, and appropriate under the

circumstances. No other or further notice of the Sale Motion, the relief granted

herein, the Sale Hearing or the entry of this Order is necessary or shall be required.


      (8) The Trustee and his professionals, agents and other representatives have

complied in all respects with the Sale Motion. Under the circumstances, the Trustee

and his professionals, agents and other representatives have adequately and

appropriately marketed the Sale Property. The Sale was duly noticed and conducted

in a diligent, non-collusive, fair and good faith manner, and the bidding procedures

afforded a full, fair and reasonable opportunity for any person or entity to qualify as

a bidder, participate in the bidding process and make a higher or otherwise better

offer to purchase the Sale Property.


      (9) The Trustee and his professionals, agents and other representatives (a)

provided potential purchasers, upon request, sufficient information to enable them

to make an informed judgment on whether to bid on the Sale Property, and (b)

faithfully executed their duties in considering all offers and bids throughout the

bidding process and in determining that Lakeshore Commercial Properties LLC

("LCP" or "Purchaser") is the successful bidder for the Sale Property on the terms

and conditions set forth in the Purchase and Sale Agreement (the “PSA”) attached

hereto as Exhibit 1.


      (10) All objections to the relief granted herein, whether filed, stated on the

record in Court or otherwise, are OVERRULED on the merits and with prejudice to


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the extent they have not been withdrawn, waived or resolved. Al1 objections to the

relief granted herein that were not timely filed are forever barred.


      (11) Republic Bank, in reliance on the Trustee agreeing to sell the Sale

Property to Purchaser pursuant to this Order in its current form and substance,

elected not to exercise its rights under § 363(k) of the Bankruptcy Code to credit bid.

At the Closing of the Sale, the Trustee is authorized to disburse sale proceeds of up

to $3,400,000 to Republic Bank, in partial satisfaction of Republic Bank’s secured

claim and without prejudice to further distributions to Republic Bank on account of

any of its claims. Pursuant to the agreement of Republic Bank, the Court directs

that at the Closing (a) $100,000 of the proceeds payable to Republic Bank from the

Sale shall be transferred to the Trustee for the Trustee’s costs and expenses of

administering the bankruptcy estate and (b) $215,500 of the sale proceeds shall be

payable to Hilco Real Estate in satisfaction of any commissions due and payable to

any real estate brokers, including Hilco Real Estate, as broker for the Trustee and

any real estate broker for Purchaser, and (c) $300,000 shall be deposited or retained

in an escrow account pending the outcome of a dispute between the Trustee and the

Lake Point Tower Condominium Association (the “Association”) related to the roof

for CITE. Hilco shall promptly satisfy and pay any brokerage commission owed to

the broker for the Purchaser.


      (12) The offer of Purchaser, upon the terms and conditions set forth in the

PSA, including the form and the total consideration to be realized by the Estate



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pursuant to the PSA: (a) is the highest and best offer received by the Trustee for the

Sale Property after extensive marketing, including through the Bidding Procedures;

(b) is fair and reasonable; (c) is in the best interest of the Bankruptcy Estate, the

Debtor, and its creditors; and (d) constitutes full and adequate consideration and

reasonably equivalent value for the Sale Property.


      (13) Purchaser is the successful bidder for the Sale Property in accordance

with the Bidding Procedures Order. The Trustee's determination that the Sale set

forth in the PSA constitutes the highest and best offer for the Sale Property is a

valid and sound exercise of the Trustee's business judgment. The Trustee has

determined that the sale of the Sale Property under the terms set forth in the PSA

represents the best opportunity for the estate to realize the greatest value for the

Sale Property and will provide a greater recovery for creditors and interest holders

than would be provided by any other practical or available alternative.


      (14) The Trustee has demonstrated a sufficient and sound business purpose

and basis to enter into the PSA, sell the Sale Property on the terms outlined therein

under § 363(b) and (f) of the Bankruptcy Code, and all such actions are appropriate

exercises of the Trustee's business judgment and in the best interests of the

Bankruptcy Estate. the Debtor, creditors, and interest holders. The PSA and all of

the terms and conditions thereof, are hereby approved.


      (15) The Sale of the Sale Property to Purchaser as set forth in the PSA is

approved free and clear of any and all liens, claims, encumbrances and interests


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pursuant to §§ 105 and 363(b) and (f) of the Bankruptcy Code, and the Trustee and

Purchaser and their respective affiliates, officers, directors, employees,

professionals, agents and other representatives are authorized to immediately take

any and all such actions as are necessary or appropriate to consummate and

implement the PSA.


      (16) Pursuant to §§ 105(a) and 363(b) of the Bankruptcy Code, the Trustee is

authorized to transfer the Sale Property to the Purchaser at Closing (as defined in

the PSA). The Sale Property shall be transferred to Purchaser "as is, where is" to

the extent provided in the PSA upon and as of the Closing. The purchase and sale of

the Sale Property and the related transfer constitutes a legal, valid, binding and

effective transfer of the Sale Property and shall be free and clear of all interests,

liens, claims and encumbrances of any kind or nature whatsoever (collectively,

"Liens and Claims") because one or more of the standards set forth §§ 363(f)(l)-

(f)(5) of the Bankruptcy Code have been satisfied. Accordingly, all persons or

entities having Liens and Claims against or in any of the Sale Property shall be

forever barred, estopped and permanently enjoined from pursuing or asserting such

Liens and Claims against the Sale Property, Purchaser or any of Purchaser's assets,

property, successors or assigns. Upon the entry of this Order, any and all Liens and

Claims as against the Sale Property are deemed waived, released, and discharged

with such Liens and Claims being transferred to the proceeds of the Sale Property.




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      (17) The Trustee is authorized to execute and deliver the PSA, together with

all additional agreements, instruments and documents that may be reasonably

necessary or desirable to implement the PSA and effectuate the provisions of this

Order and the transactions approved hereby, all without further order of the Court.

The PSA and any related agreements, documents or other instruments may be

modified, amended or supplemented by the parties thereto and in accordance with

the terms thereof, without further order of this Court, provided that such

modification, amendment or supplement does not have a material adverse effect on

the Bankruptcy Estate.


      (18) Purchaser and its professionals, agents and other representatives have

complied in all respects with the bidding procedures and all other applicable orders

of this Court in negotiating and entering into the PSA, and the Sale and the PSA

comply with the bidding procedures and all other applicable orders of this Court.


      (19) Neither Purchaser nor any of its affiliates, members, officers, directors,

shareholders or any of their respective successors and assigns is an "insider" or

“affiliate” of the Debtor, as those terms are defined in §§ 101(31) and 101(2) of the

Bankruptcy Code, respectively. No common identity of directors or controlling

shareholders exists between the Debtor and Purchaser.


      (20) The Sale contemplated by the PSA is undertaken by Purchaser without

collusion and in “good faith,” as that term is defined in § 363(m) of the Bankruptcy

Code and the Purchaser is a “good faith” purchaser within the meaning of § 363(m)


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of the Bankruptcy Code. Accordingly, the reversal or modification on appeal of the

authorizations provided herein to consummate and close the Sale shall not affect

the validity of the Sale unless such authorizations, consummation and Closing of

such Sale is duly stayed pending such appeal.


      (21) Purchaser is not a mere continuation of the Debtor. In particular, for the

avoidance of doubt, the term "Liens and Claims" as used herein includes, without

limitation, any mortgage, lien (as such term is defined in 11 U.S.C. § 101(37),

including any mechanic's, materialman's, broker's, statutory, cash collateral or

carve out lien or any other consensual or non-consensual lien), security interest,

lawsuit, charge, hypothecation, deed of trust, pledge, right of use, first offer or

refusal, servitude, restrictive covenant, lease, sublease, covenant, right of way,

option, restriction (including any restriction on transfer or on the use, voting,

receipt of income or other rights or exercise of any attributes of ownership),

conditional sale or other title retention agreements, interest, encumbrance of any

kind, debt, liability, obligation or claim (as that term is defined in 11 U.S.C. §

105(5)), and including any claim against either Purchaser and/or any of the assets

or properties of Purchaser (including the Sale Property) based on a theory of

successor liability, alter-ego or any similar theory of liability, and all costs and

expenses relating thereto.


      (22) Except as specifically provided by the PSA or this Order, all entities

holding Liens and Claims or interests in or on any portion of the Sale Property



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arising under or out of, in connection with or in any way relating to the Debtors, the

Sale Property, the operation of the Debtor's business prior to the Closing Date or

the transfer of the Sale Property to Purchaser, are forever barred, estopped and

permanently enjoined from asserting against Purchaser or its successors or assigns,

their property or the Sale Property, any such Liens and Claims on the Sale

Property.


      (23) On or before the Closing Date, each creditor is authorized and directed to

execute such documents and take all other actions as may be necessary to release

Liens and Claims on the Sale Property, if any, as provided for herein, as such Liens

and Claims may have been recorded or may otherwise exist. Any creditor’s failure

and/or refusal to release such Liens and Claims on the Sale Property shall not have

any impact on the enforceability of any provision of this Order, including, but not

limited to, any provision providing that the Sale shall be free and clear of all

interests, liens, claims and encumbrances of any kind or nature whatsoever


      (24) Upon consummation and Closing of the Sale, the Trustee and Purchaser

are authorized to file termination statements or lien terminations in the name of or

on behalf of any lien creditor in any required jurisdiction to remove any record,

notice filing, or financing statement recorded to attach, perfect or otherwise notice

any Lien and Claim that is extinguished or otherwise released pursuant to this

Order under § 363 and the related provisions of the Bankruptcy Code.

Notwithstanding the preceding, the provisions of this Order authorizing the



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transfer of the Sale Property free and clear of all Liens and Claims shall be self-

executing, and the Trustee, Purchaser and creditors shall not be required to execute

or file releases, termination statements, assignments, consents or other instruments

in order for the provisions of this Order to be effectuated, consummated and/or

implemented.


      (25) All persons and entities that are in actual or constructive possession of,

or that have the ability to control the surrender or delivery of, some or all of the

Sale Property are directed to surrender or deliver possession of the Sale Property to

Purchaser at the Closing or to cause any applicable third party to surrender or

deliver possession of the Sale Property to Purchaser at Closing, at no cost to

Purchaser.


      (26) Effective upon Closing, all entities are forever prohibited and

permanently enjoined from commencing or continuing in any manner any action or

other proceeding, whether in law or equity, in any judicial, administrative, arbitral

or other proceeding of any sort whatsoever, against Purchaser, its successors and

assigns, or the Sale Property, with respect to any Liens and Claims arising under,

out of, in connection with or in any way relating to the Debtor or the Sale Property

prior to the Closing.


      (27) Nothing contained in any plan of reorganization or liquidation, or order

of any type or kind entered in (a) the Case, (b) any subsequent chapter 7 case into

which this Case may be converted, or (c) any related proceeding subsequent to entry


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of this Order, shall conflict with or derogate from the provisions of the PSA or the

terms of this Order.


      (28) Time is of the essence in consummating the Sale. To maximize the value

of the Sale Property and minimize the costs incurred by the Bankruptcy Estate, it is

essential that the Sale occur promptly, and within the time constraints set forth in

the PSA. Pursuant to Bankruptcy Rules 9014 and 6004(h), this Order shall be

effective immediately upon entry and Trustee and Purchaser are authorized to close

the Sale immediately upon entry of this Order.


      (29) The failure specifically to include any particular provision of the PSA in

this Order shall not diminish or impair the effectiveness of such provision, it being

the intent of this Court that the PSA be authorized and approved in its entirety.


      (30) To the extent that this Order is inconsistent with any prior order or

pleading with respect to the Sale Motion in this Case, the terms of this Order shall

govern.


      (31) To the extent there are any inconsistencies between the terms of this

Order and the PSA (including all ancillary documents executed in connection

therewith), the terms of this Order shall govern.


      (32) [A copy of the form of Agreement referenced in Section 7.1(g) of the PSA

will be referenced and attached]




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      (33) The Court shall retain jurisdiction to, among other things, interpret,

implement and enforce the terms and provisions of this Order and the PSA, all

amendments thereto and any waivers and consents thereunder, and each of the

agreements executed in connection therewith to which the Trustee or the Debtor are

a party or which has been assigned to Purchaser, and to adjudicate, if necessary,

any and all disputes concerning or relating in any way to the Sale or the Sale

Property.


      (34) The findings and conclusions set forth herein constitute the Court's

findings of fact and conclusions of law under Bankruptcy Rule 7052, made

applicable to this proceeding under Bankruptcy Rule 9014. To the extent that any of

the findings of fact herein constitute conclusions of law, they are adopted as such.

To the extent any of the conclusions of law herein constitute findings of fact, they

are adopted as such.


August __, 2022                                ENTERED:

                                               ____________________________________
                                               Hon. Janet S. Baer
                                               United States Bankruptcy Judge




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                     PURCHASE AND SALE AGREEMENT

       THIS PURCHASE AND SALE AGREEMENT (this "Agreement") is dated as
of August __, 2022, the "Effective Date"), by and between Robert Handler, not in
any capacity, including in any individual capacity, other than in the capacity as the
Subchapter V Trustee for the bankruptcy estate of Cite, LLC (the estate created for
the assets of Cite, LLC is referred to as the “Bankruptcy Estate”), the debtor in
bankruptcy case No. 21-13730 (hereafter referred to as the “Seller”) and Lakeshore
Commercial Properties LLC (hereafter referred to as the "Purchaser"), (collectively,
Seller and Purchaser may be referred to in this Agreement as the "Parties" and
individually, "Party").

                                     RECITALS:

        WHEREAS, On December 3, 2021 (the “Petition Date”), Cite, LLC, an Illinois
limited liability company (referred to in this Agreement as the “Debtor” or “Cite”),
filed its voluntary petition for relief under chapter 11 of the Bankruptcy Code
commencing the above-captioned chapter 11 case (the “Chapter 11 Case”).

      WHEREAS, The Office of the United States Trustee originally appointed
Robert Handler, as the Subchapter V Trustee for the Chapter 11 Case.

      WHEREAS, On March 25, 2022, the Bankruptcy Court entered an order
removing the Debtor as debtor-in-possession in the Chapter 11 Case pursuant to 11
U.S.C. § 1185, which order further provided that pursuant to 11 U.S.C. § 1183(b)(5),
the Debtor’ s duties under 11 U.S.C. §§ 704(a)(8) and 1106(a)(1), (2), and (6) shall be
performed by Robert Handler, the Subchapter V Trustee (the “Trustee Order”).

      WHEREAS, Cite (“Record Owner “) is the owner of the property commonly
known as 505 N. Lake Shore Drive, Units 207, 209, 209A, 224 and 70000 and more
particularly described on Exhibit A.

       WHEREAS, Seller is in possession of the Property (defined below) pursuant
to the Trustee Order.

      WHEREAS, On May 18, 2022, the Bankruptcy Court entered an order (the
“Sale Procedure Order”) authorizing the Subchapter V Trustee to implement
procedures for marketing and selling the Property, to solicit bids for the Property, to
conduct an auction for the Property among the Qualified Bidders, if warranted, to
designate a bid as the Successful Bid and to seek an order from the Bankruptcy
Court authorizing the sale of the Property to the Successful Bidder.




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      WHEREAS, Seller conducted an auction of the Property in accordance with
the Sale Procedure Order and Purchaser was designated either as the Winner
Bidder1 or the Backup Winning Bidder.

      WHEREAS, Seller intends to seek from the Bankruptcy Court an order
authorizing Seller to consummate the transactions set forth in this Agreement
pursuant to Sections 363(b) and (f) of the Bankruptcy Code (the “Sale Authorization
Order”).

       WHEREAS, Seller desires to sell, and Purchaser desires to purchase, the
Property, as defined below, in exchange for cash, pursuant to, and subject to, the
terms and conditions set forth herein, including the entry of an order (the “Sale
Authorization Order”) by the United States Bankruptcy Court for the Northern
District of Illinois (the “Bankruptcy Court”) authorizing the Seller to sell the
Property in accordance with §§ 363(b) and 363(f) of title 11, United States Code (11
U.S.C. §§ 101, et seq, the “Bankruptcy Code”);

      NOW, THEREFORE, in consideration of the sale of the Property and the
representations, warranties, covenants, conditions and agreements contained
herein, and other good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, the Parties hereby agree as follows:

                                 BASIC INFORMATION:

         B-1.   Basic Terms. The following defined terms shall have the meanings set forth
below:

                  Seller:            Robert Handler, not in any capacity, including any
                                     individual capacity, other than in the capacity as the
                                     Subchapter V Trustee for the Bankruptcy Estate of
                                     Cite, LLC




                  Purchaser:         Lakeshore Commercial Properties LLC




1 Capitalizedterms not otherwise defined herein shall have the meaning set forth in
the Sale Procedures Order or the Subchapter V Trustee’s Motion for Order Setting
Procedures for the Marketing and Sale of Debtor’s Assets.
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                Purchase Price:     $ 4,150,000.00 , allocated as: (i) $2,040,000 for the
                                    Real Property (as that term is defined below); and
                                    (ii) $2,110,000.00 for the Personal Property (as that
                                    term is defined below).
                Deposit             Cash Deposit: $100,000
                                    Additional Deposit: 10% of the Winning Bid, less the
                                    amount of the Cash Deposit

                Title Company:      Chicago Title Insurance Company
                                    10 S LaSalle, Suite 2910
                                    Chicago, Illinois 60602
                                    Attention: Becky Voss
                                    Telephone: (312) 223-2836
                                    E-Mail:      vossb@ctt.com

                Escrow Agent:       Same as Title Company



                                    Attention:
                                    Telephone:
                                    E-Mail:

                Broker:             Hilco Real Estate.

                Effective Date:     August 1, 2022


                Closing Date        The date ten (10) days after the entry of the Sale Authorization
                                    Order


        B-2. Notice Addresses.     The following are notice addresses for purposes of Section
10.3 of this Agreement:

                Purchaser:          Lakeshore Commercial Properties LLC
                                    45 Baybrook Ln




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                                       Oak Brook, Illinois 60523
                                       Attention: Al Lotfi
                                       Telephone: 630.805.4022
                                       E-Mail: allotfi1@yahoo.com



                   Copy to:            Brian P. Welch
                                       Burke, Warren, MacKay & Serritella, P.C.
                                       330 N. Wabash, #2100
                                       Chicago, IL 60611
                                       312.840.7117
                                       bwelch@burkelaw.com

                   Seller:             Robert Handler, not in any capacity, including any
                                       individual capacity, other than in the capacity as the
                                       Subchapter V Trustee for the Bankruptcy Estate of
                                       Cite, LLC
                                       c/o Commercial Recovery Associates, LLC
                                       205 W Wacker Drive, Suite 918
                                       Chicago, IL 60606
                                       O: (312) 845-5001
                                       C: (312) 543-3427
                                       E-Mail: rhandler@com-rec.com
                   Copy to:            William J. Factor
                                       FactorLaw
                                       105 W Madison, Suite 1500
                                       Chicago, IL 60602
                                       Telephone: 312.878.6146
                                       E-Mail: wfactor@wfactorlaw.com

         B-3.   Closing Costs. Closing costs shall be allocated and paid as follows:

  Cost                                                                         Responsible Party
  Title Commitment required to be delivered pursuant to Section 4.1(a)         Seller
  Premium for standard form Title Policy with extended coverage Purchaser
  endorsement required to be delivered pursuant to Section 7.1(d)




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  Premium for any upgrade of Title Policy for additional coverage and any Purchaser
  endorsements desired by Purchaser, any inspection fee charged by the Title
  Company, tax certificates, municipal and utility lien certificates, and any
  other Title Company charges

  Costs for UCC Searches                                                  Purchaser
  Recording fees and taxes                                                Purchaser
  Any state and county deed taxes, documentary stamps or transfer taxes   Seller or NA
  Any municipal deed taxes, documentary stamps or transfer taxes, and any Per ordinance
  mortgage taxes

  Any escrow fee charged by Escrow Agent for holding the Deposit or Purchaser ½
  conducting the Closing                                            Seller ½

  Real Estate Sales Commission to Hilco Real Estate (“Broker”)            Seller
  All other closing costs, expenses, charges and fees                     Purchaser


                       ARTICLE 2: PURCHASE AND SALE

       Section 2.1 Purchase and Sale. Subject to the terms and conditions of this
Agreement, Seller agrees to sell to Purchaser, and Purchaser agrees to purchase
from Seller, subject to that certain condominium declaration (the “Declaration of
Condominium Association”) and bylaws of the condominium (“Bylaws”, collectively
with the Declaration of Condominium Association, the “Condominium Documents”)
the following:

             (a)    the land described on Exhibit A, with all rights, privileges and
easements appurtenant thereto and an undivided interest (in a percentage to be
determined at a later date by the written agreement of the Purchaser and Seller) in
the Common Elements (as such term is defined in the Declaration of Condominium
Association) with all rights, privileges and easements appurtenant thereto (the
"Real Property");

             (b)    Seller's right, title, and interest in and to all furniture, fixtures,
equipment, machinery, and other tangible personal property located at the Real
Property (collectively, the “Personal Property”, and together with the Real Property,
the “Property”), including all inventories of food and beverage in opened and
unopened containers and all in-use or stock of linens, china, glassware, silver,
uniforms, towels, paper goods, stationery, soaps, cleaning supplies and the like with



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respect to the restaurant on hand as of the Closing Date and any warranties and
guaranties relating to the Personal Property.

               (c)    Notwithstanding anything contained in this Section 2.1 to the
contrary, Property specifically does not include, and none of the following shall be
transferred to Purchaser (the “Excluded Property”): (a) Seller's cash and cash
equivalents, whether on hand, in bank accounts or elsewhere; (b) any accounts
receivable (c) any credit card merchant numbers of Seller, (d) any insurance policies
related to the Property including, without limitation, general liability, operational
liability, business interruption, fire and casualty policies, and all proceeds and
claims thereunder, (e) any refunds (including, without limitation, refunds of real
estate taxes or insurance premiums) attributable to the period prior to the Closing
Date, (f) any intangible property, provided, however, that Purchaser and Seller
expressly agree that Purchaser shall be allowed to use the name Cite, (g) any and
all causes of action, choses in action, claims or any rights against third parties,
including any under the Bankruptcy Code; and (h) any prepaid expenses or deposits
related to any of the Excluded Property.

              (d)    Purchaser shall acquire the Property pursuant to a sale
authorized by § 363(b) and (f) of the Bankruptcy Code. Such sale shall be free and
clear only of the rights and interests that § 363(f) of the Bankruptcy Code
addresses.

              (e)    Nothing in this Agreement shall be binding upon Seller unless
and until the Bankruptcy Court enters the Sale Authorization Order authorizing
the Seller to enter into this Agreement and be bound by the terms hereof.

              (f)    Purchaser acknowledges and agrees that the sale of the
Property may be subject to an auction or competitive bidding process and
Purchaser’s rights to acquire the Property under this Agreement, as well as Seller’s
obligations to sell the Property to Purchaser, are in all respects subject to a
determination by Seller, after considering all other offers for the Property and
options for maximizing its value, that Purchaser has submitted the Winning Bid
and is the Winning Bidder and the sale of the Property to Purchaser is in the best
interests of stakeholders.

         Section 2.2 Condition of the Property; No Representations.

              (a)   Purchaser acknowledges and agrees that: (i) Purchaser has been
given a reasonable opportunity to inspect and investigate the Property and all
aspects relating thereto, including, without limitation, all of the physical,
environmental and operational aspects of, or conditions on, the Property, either
independently or through agents and experts of Purchaser's choosing; (ii) Purchaser
will acquire the Property based upon Purchaser's own investigation and inspection

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of the Property; (iii) Purchaser has been given a reasonable opportunity to review
and inspect the documents and other materials delivered to Purchaser or made
available to Purchaser as contained in the data room of the Broker (the “Property
Materials”) and (iv) Purchaser shall have no right or opportunity to request any
additional documents related to the Property. Purchaser acknowledges and agrees
that (i) Seller may have been provided with information, some of which is related to
the Property and some which may not be in the possession and control of Seller, (ii)
Seller has not necessarily reviewed such information and (iii) Seller may be
unaware of information in its possession that relates to the Property. Seller makes
no representation or warranty with respect to the Property Materials or the
accuracy or completeness of such documents. Purchaser acknowledges and agrees
that any inaccuracy, incompleteness or relevancy in the Property Materials shall
not constitute a breach of this Agreement by Seller and shall not constitute grounds
by which Purchaser can terminate this Agreement.

              (b)    The roof and masonry components of the condominium building
where the Real Property is located have suffered damage and are likely to continue
to suffer damage unless such roof and masonry components are replaced. There is a
dispute as to whether the cost of the repairs to and/or replacement of the roof and
masonry components shall be borne by the Lake Point Tower Condominium
Association (the “Association”) or the owner of the Real Property. Seller and
Purchaser agree that at closing, $300,000.00 (the “Escrowed Funds”) of the
Purchase Price will be placed into an escrow account, to be administered by an
escrow agent selected by the agreement of the Seller and the Purchaser pursuant to
the Escrow Agreement included on Exhibit __ hereto, to be held until such time as
any dispute as to the identity of the responsible party for any repairs to and/or
replacement of the roof and masonry is determined by final adjudication or
otherwise. To the extent that it is determined that the owner of the Real Property
shall be responsible for repairs to and/or replacement of the roof and masonry
components, the Escrowed Funds shall be released, upon the mutual direction to
the escrowee of the Seller and the Purchaser, to the Purchaser. To the extent that it
is determined that the Association shall be responsible for repairs to and/or
replacement of the roof and masonry components, the Escrowed Funds shall be
released, upon the mutual direction to the escrowee of the Seller and the Purchaser,
to the Seller. In the event that the Purchaser and the Association share in the costs
of any repairs to and/or replacement of the roof and masonry, the Purchaser shall be
entitled to a dollar-for-dollar credit from the Escrowed Funds for its share of such
costs. For the avoidance of doubt, and by way of illustration only, Seller and
Purchaser agree that: (i) if the Purchaser’s responsibility for repairs to and/or
replacement of the roof and masonry components exceeds $300,000, the Escrowed
Funds shall be released, upon the mutual direction to the escrowee of the Seller and
the Purchaser, to the Purchaser; (ii) if the Purchaser’s responsibility for repairs to
and/or replacement of the roof and masonry components is $0.00, the Escrowed

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Funds shall be released, upon the mutual direction to the escrowee of the Seller and
the Purchaser, to the Seller; and (iii) if the Purchaser’s responsibility for repairs to
and/or replacement of the roof and masonry components is between $1.00 and
$300,000, the Escrowed Funds shall be released, upon the mutual direction to the
escrowee of the Seller and the Purchaser, to the Purchaser in an amount sufficient
to cover the Purchaser’s costs, with the remainder of any Escrowed Funds to be
released to the Seller.

               (c)    PURCHASER SPECIFICALLY ACKNOWLEDGES AND
AGREES THAT EXCEPT AS EXPRESSLY SET FORTH HEREIN, (i) SELLER IS
CONVEYING THE PROPERTY TO PURCHASER "AS IS, WHERE IS AND WITH
ALL FAULTS" AND (ii) NEITHER PURCHASER NOR ANY OTHER PERSON IS
RELYING ON ANY REPRESENTATIONS OR WARRANTIES OF ANY KIND
WHATSOEVER, WHETHER ORAL OR WRITTEN, EXPRESS OR IMPLIED,
STATUTORY OR OTHERWISE, FROM SELLER OR ANY DIRECT OR INDIRECT
PARTNER, OFFICER, DIRECTOR, TRUSTEE, MEMBER, EMPLOYEE,
AFFILIATE, ATTORNEY, AGENT OR BROKER OF SELLER OR ANY OF ITS
AFFILIATES, AS TO ANY MATTER CONCERNING THE PROPERTY OR
SELLER OR SET FORTH, CONTAINED OR ADDRESSED IN ANY DUE
DILIGENCE MATERIALS (INCLUDING, WITHOUT LIMITATION, THE
COMPLETENESS THEREOF), INCLUDING, WITHOUT LIMITATION: (ii) the
quality, nature, habitability, merchantability, use, operation, value, marketability,
adequacy or physical condition of the Property or any aspect or portion thereof,
including, without limitation, structural elements, foundation, roof, appurtenances,
access, landscaping, parking facilities, electrical, mechanical, HVAC, plumbing,
sewage, water and utility systems, facilities and appliances, soils, geology and
groundwater, (iii) the dimensions or lot size of the Property or the square footage of
any of the improvements thereon or of any tenant space therein, (iv) the
development or income potential, or rights of or relating to, the Property, or the
fitness, suitability, value or adequacy of the Property for any particular purpose, (v)
the zoning or other legal status of the Property, (vi) the compliance of the Property
or its operation with any applicable codes, laws, regulations, statutes, ordinances,
covenants, conditions and restrictions of any Governmental Authority or of any
other Person or entity (including, without limitation, the Americans with
Disabilities Act of 1990, as amended), (vii) the ability of Purchaser or any of its
affiliates to obtain any necessary governmental approvals, licenses or permits for
the use or development of the Property, (viii) the presence, absence, condition or
compliance of any hazardous or toxic materials or substances on, in, under, above or
about the Property or any adjoining or neighboring property, (ixi) the quality of any
labor and materials used in any improvements at the Property, or (x) the economics
of, or the income and expenses, revenue or expense projections or other financial
matters, relating to the operation of, the Property. Without limiting the generality
of the foregoing, Purchaser expressly acknowledges and agrees that, except as set

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forth herein, it is not relying on any representation or warranty of the Debtor or
Seller or any of either of their affiliates or any direct or indirect partner, member,
director, trustee, officer, employee, affiliate, attorney, agent or broker of any of them,
whether implied, presumed or expressly provided, arising by virtue of any statute,
regulation or common law right or remedy in favor of any of them. Seller is not
under any duty to make any inquiry regarding any matter that may or may not be
known to Seller. For the purposes of this Agreement, "Person" means any
individual, corporation, partnership, association, trust, limited liability company, or
other entity or organization.

             (d)     The Property Materials are delivered without any
representation or warranty as to the completeness or accuracy of the data or
information. Seller has neither verified the accuracy of any statements or other
information therein contained, the method used to compile the information or the
qualifications of the persons who prepared the information. The Property Materials
are provided on an AS IS WHERE IS BASIS.

              (e)    If this Agreement is terminated for any reason or if Purchaser is
not the Winning Bidder, Purchaser shall promptly deliver to Seller (i) all copies of
all of the property documents and materials, and (ii) any other materials delivered
or made available to Purchaser in respect of Seller, any of its affiliates, or the
Property. Further, if this Agreement is terminated or Purchaser is not the Winning
Bidder, Purchaser shall promptly destroy, and provide to Seller written certification
of such destruction, all copies of any analyses, compilations, studies or other
documents or records prepared by Purchaser, its affiliates, representatives,
employees, and agents that contain, reflect or are derived from information in the
property documents or other information provided for in this Agreement or
otherwise related to Seller, any of its affiliates or the Property. Without limiting
the foregoing, if this Agreement is terminated for any reason or if Purchaser is ot
the Winning Bidder, Purchaser shall assign and deliver to Seller, and Purchaser
does hereby assign without the need for any further act or instrument, all reports,
plans, studies, documents, written information and the like which has been
generated by Purchaser, Purchaser's Representatives, in house or by Purchaser's
third party consultants; provided, however, Seller shall not assume, and Purchaser
shall remain obligated for, any unperformed obligations or unpaid costs and
expenses arising under or in connection with any such reports, plans, studies,
documents and other written information.

               (f)   This Section 2.2 shall survive Closing indefinitely.




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                                    ARTICLE 3.
                                   PURCHASE PRICE

        Section 3.1 Purchase Price. The Purchase Price (such amount, as may be
adjusted as provided for herein), shall be payable in cash by wire transfer of
immediately available funds to a bank account (the "Escrow Account") designated
by Title Company and, in its capacity as Escrow Agent. The total Purchase Price of
$4,150,000.00 shall be allocated as follows: (i) $2,040,000 for the Real Property; and
(ii) $2,110,000.00 for the Personal Property.
         Section 3.2 Deposits.

               (a)   Payment of Deposits.

                     (i)   Purchaser has delivered to Seller the Cash Deposit.

                      (ii)  Not later than 5:00 p.m. (prevailing Central time) on the
next Business Day after that day on which Purchaser is designated the Winning
Bidder (the “Additional Deposit Deadline”), Purchaser shall deliver to Escrow Agent
an amount equal to 10% of the Winning Bid, less the amount of the Cash Deposit
(the “Additional Deposit”). The Additional Deposit shall be paid in cash by wire
transfer of immediately available funds to the Escrow Agent by the Additional
Deposit Deadline. If Purchaser fails to deliver the Additional Deposit by the
Additional Deposit Deadline, then (a) Seller shall have the right, but not the
obligation, to sell the Property to the Backup Winning Bidder and Purchaser shall
not have any further rights hereunder, (c) Seller shall retain the Cash Deposit and
shall have the right, but not the obligation, to apply such finds in any manner Seller
deems appropriate, and (d) Seller shall have all rights and remedies available at
law and in equity against Purchaser for a breach of this Agreement and a breach of
Purchaser’s obligations to consummate the transaction this Agreement
contemplates and such rights and remedies shall be available to Seller irrespective
of the entry of the Sale Authorization Order. As used in this Agreement, the term
"Business Day" means any day of the year, other than Sunday, Saturday or any
other day that the Federal Reserve Bank of New York recognizes as a federal
holiday.

             (b)     Escrow Agent and Deposit. The Additional Deposit shall be held
by Escrow Agent pursuant to a strict joint order escrow by and among Seller,
Purchaser and Escrow Agent. At Closing, Escrow Agent shall deliver the Additional
Deposit to Seller, less the Cash Deposit, for application toward the Purchase Price.
Purchaser hereby acknowledges and agrees that, except as set forth herein, the
Deposit and the Additional Deposit shall be non-refundable to Purchaser in any and
all events and shall be deemed fully earned by Seller upon delivery thereof to
Escrow Agent in consideration for Seller's agreement to enter into this Agreement.

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         Section 3.3 Apportionments and other Ajustments

              (a)    General. All items of revenue and expense with respect to the
Property, and applicable to the period of time before and after Closing Date, shall be
allocated between Seller and Purchaser as provided herein. Pursuant to such
allocation, Seller shall be entitled to all revenue and shall be responsible for all
expenses for the period of time up to 11:59 P.M. (Central Time) on the day
immediately preceding the Closing Date (the "Adjustment Point"), and Purchaser
shall be entitled to all revenue and shall be responsible for all expenses for the
period of time after the Adjustment Point. Such adjustments shall be shown on the
Closing Statement with such supporting documentation as the Parties hereto may
reasonably require being attached as exhibits to the closing statements and shall
increase or decrease (as the case may be) the cash amount payable by Purchaser.
All prorations shall be made on the basis of the actual number of days in the year
and month in which the Closing occurs or in the period of computation. All
prorations shall be final. Without limiting the generality of the foregoing, the
following items shall be allocated and prorated as of the Adjustment Point:

              (b)    Real Estate Taxes, Personal Property Taxes and Assessments.
Real estate taxes, personal property taxes, and assessments (and refunds thereof)
on the basis of the fiscal year or fiscal years for which assessed. If the Closing shall
occur before a new real property tax rate, personal property tax rate, or assessed
valuation is fixed, the apportionment of such tax at Closing shall be upon the basis
of the most recent ascertainable real estate taxes. If the real property taxes relating
to any period prior to the Adjustment Point are reduced at any time, including after
the Closing, Purchaser shall pay to Seller no later than 10 days after such
reduction, the amount of such reduction related to any period prior to the
Adjustment Point and also shall pay a pro-rated amount of any fees or expenses
owed or incurred in connection with any such reduction, with such pro-ration
determined by the benefits Purchaser obtains as a result of the reduction. In
addition, if any real property assessment or personal property assessment affects
the Property as of the Closing Date and such real property assessment or personal
property assessment is payable in annual or other installments (whether at the
election of Seller or otherwise), only the installment relating to, or payable over, the
fiscal period of the assessing authority, part of which is included within the period
prior to the Closing Date and part of which is included in the period after the
Closing Date, shall be apportioned between Seller and Purchaser as of the
Adjustment Point; however, such assessments which are not payable in
installments shall be paid by Seller at Closing where the work has been completed,
and shall be assumed by Purchaser at Closing and paid by Purchaser where the
work has been authorized or started, but not completed.




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              (c)    Utilities. As of the Closing Date, Seller shall terminate all
accounts for all utilities and Purchaser shall open accounts for such utilities. With
respect to such utilities which accounts cannot be terminated and new accounts
created, such utilities shall be allocated based upon meter readings made as
contemporaneously as possible to the Adjustment Point (or, if not possible, on the
basis of the most recent previous bills and readings).

              (d)    Assessments. Assessments, common charges or fees payable to
any condominium association pursuant to the Condominium Documents on the
basis of the respective periods for which such charges are assessed or imposed.

              (e)   Other Items. Any other operating expenses and any other items
relating to the Property which are ordinarily adjusted between sellers and
purchasers of commercial real estate comparable to the Property.

       Section 3.4 Employees. Seller shall terminate all employees (“Employees")
as of or before Closing and shall be responsible and shall cause the payment of on or
before the Closing Date any liability to or respecting the Employees by Seller
having accrued through the Adjustment Point, including liability for payment of all
Employees' wages, bonuses, commissions, and other forms of compensation or
benefits earned by and due and owing to Employees as of the Adjustment Point,
together with F.I.C.A., unemployment and other taxes and benefits due from any
employer of such Employees (collectively, the "Employee Compensation")..

                            ARTICLE 4.
                 TITLE AND PROPERTY RELATED MATTERS

       Section 4.1 Delivery of Title Commitment. As part of the Property, Seller
has provided: (i) a current commitment for title insurance or preliminary title report
(the "Title Commitment") issued by the Title Company, in the amount of the
Purchase Price and on an ALTA 2021 Standard Form commitment and (ii) copies of
all documents of record referred to in the Title Commitment as exceptions to title to
the Property.
       Section 4.2 Title Insurance Policy. Purchaser may, at its own expense,
obtain an owner’s title insurance policy for the Property, but Seller shall have no
obligation to obtain any commitment for any such policy and shall not be
responsible for any expenses or costs for such policy. Seller shall convey the
Property free and clear of all monetary liens, charges or encumbrances. Seller shall
have no obligation to remove any non-monetary encumbrances and other
restrictions, including any easements.
      Section 4.3 Condemnation. In the event that any Governmental Authority
commences condemnation proceedings, taking by power of eminent domain or any
similar action (such action, a "Condemnation") with respect to the Property or any
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Material Portion thereof, Purchaser may, at its option, by written notice to Seller
given prior to the earlier of (i) the Closing Date, and (ii) five (5) days after Seller
notifies Purchaser of such action, either: (x) terminate this Agreement, the Deposit
shall be returned to Purchaser and the Parties hereto shall have no further rights
or obligations, other than those that by their terms survive the termination of this
Agreement, or (y) proceed under this Agreement, in which event Seller shall, at the
Closing, assign to Purchaser its entire right, title and interest in and to any
condemnation award, or credit the Purchase Price in the amount of any award
received by Seller between the Effective Date and the Closing Date less any
collection costs, and Purchaser shall have the sole right after the Closing to
negotiate and otherwise deal with the condemning authority in respect of such
matter. If Purchaser does not give Seller written notice of its election within the
time required above, then Purchaser shall be deemed to have elected option (y)
above. For the purpose of this Section 4.3, "Material Portion" means a taking of the
Property which, as a result of the taking, in Seller's reasonable estimation, will
result in a decrease in value of the Property equal to or exceeding $100,000.
         Section 4.4 Casualty.

              (a)    Casualty Notice. If prior to Closing, the Property is damaged by
fire or other casualty, Seller shall estimate the cost to repair and the time required
to complete repairs and will provide Purchaser written notice of Seller's estimation
(the "Casualty Notice") as soon as reasonably possible after the occurrence of the
casualty.

              (b)    Material. In the event of any Material Damage, as defined
herein, to or destruction of the Property or any portion thereof prior to Closing,
either Seller or Purchaser may, at its option, terminate this Agreement by
delivering written notice to the other on or before the expiration of five (5) days
after the date Seller delivers the Casualty Notice to Purchaser (and if necessary, the
Closing Date shall be extended to give the Parties the full five (5) day period to
make such election and to obtain insurance settlement agreements with Seller's
insurers). Upon any such termination, the Deposit shall be returned to Purchaser
and the Parties hereto shall have no further rights or obligations hereunder, other
than those that by their terms survive the termination of this Agreement. If neither
Seller nor Purchaser so terminates this Agreement within said five (5) day period,
then the Parties shall proceed under this Agreement and close on schedule (subject
to extension of Closing as provided above), and as of Closing, Seller shall assign to
Purchaser, without representation or warranty by or recourse against Seller, all of
Seller's rights in and to any resulting insurance proceeds due Seller as a result of
such damage or destruction and Purchaser shall assume full responsibility for all
needed repairs, and Purchaser shall receive a credit at Closing for any deductible
amount under such insurance policies (but the amount of the deductible plus
insurance proceeds shall not exceed the lesser of (A) the cost of repair or (B) the

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Purchase Price); provided, however, Seller shall retain the claim against the
insurance company and the right to negotiate and settle with the insurance
company regarding the claim, but Seller agrees to keep Purchaser informed as to
the status of said negotiations. For the purposes of this Section 4.4, "Material
Damage" and "Materially Damaged" means damage which, in Seller's reasonable
estimation, exceeds $100,000.

              (c)     Immaterial. If the Property is not Materially Damaged, then
neither Purchaser nor Seller shall have the right to terminate this Agreement, and
Seller shall, at its option, either (i) repair the damage before the Closing, or (ii)
credit Purchaser at Closing for the reasonable cost to complete the repair (in which
case Seller shall retain all insurance proceeds and Purchaser shall assume full
responsibility for all needed repairs).

                            ARTICLE 5.
                      BANKRUPTCY COURT APPROVAL

       Section 5.1 Court Approval. Purchaser agrees and acknowledges that
Seller’s rights and obligations under this Agreement are subject to entry of the Sale
Authorization Order authorizing Seller to sell the Property on the terms and
conditions set forth in this Agreement, including any amendments and/or
modifications of this Agreement free and clear of any claims of Record Owner.
Notwithstanding anything in this Agreement to the contrary, in the event Seller
does not obtain the Sale Authorization Order within sixty (60) days after the
Effective Date, Seller shall have the right to extend the time for Bankruptcy Court
approval for two (2) additional periods of thirty (30) days each. Subject to
Purchaser’s obligations hereunder, including its obligation to deliver the Additional
Deposit, if the Bankruptcy Court has not entered the Sale Authorization Order
within the extension approval periods, either Seller or Purchaser may terminate
this Agreement and the Deposit shall be returned to the Purchaser and the parties
shall have no further obligation to each other except for those provisions which
expressly survive termination.
       Section 5.2 Effect of Order. Purchaser acknowledges that the Property is
owned by Record Owner and that the Property is property of the Bankruptcy Estate
and can only be sold in accordance with an order from the Bankruptcy Court
authorizing such sale. Purchaser further acknowledges and agrees that Seller has
not had an opportunity to fully inspect the Property or the documents relating to
the Property and Seller, to the fullest extent permitted by applicable law, expressly
disclaims all representations and warranties as to the condition of either the
Property or documents relating to the Property.
      Section 5.3 No Personal Liability. Purchaser agrees that this Agreement
and all instruments or documents executed in connection with this Agreement and

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delivered by Seller are executed and delivered by Seller not personally but in the
exercise of the powers conferred upon Seller as a Subchapter V trustee and
pursuant to the Trustee Order. Purchaser acknowledges and agrees that no
personal liability assumed by and none shall be at any time asserted or enforceable
against Seller on account of this Agreement or the documents executed in
connection with this Agreement.
       Section 5.4 Conflict with Court Orders. Notwithstanding any other
provision in this Agreement, Seller shall have no obligation to perform in any
manner under this Agreement that is contrary to or in excess of its powers and
authorities under the Trustee Order or any other order of the Bankruptcy Court or
provision of the Bankruptcy Code. If there is any conflict between the provisions of
this Agreement and the terms of any order of the Bankruptcy Court, including the
Sale Authorization Order, the terms of the orders of such orders of the Bankruptcy
Court shall control.
         Section 5.5 Expenses.

              (a)    Costs and expenses shall be allocated as provided in Section B-3
above. Except as otherwise expressly provided in Section B-3 above or elsewhere in
this Agreement, each Party agrees to pay its own expenses (including the fees and
expenses of its own attorneys, accountants and other advisors) in connection with
its due diligence activities, negotiating this Agreement and any related agreements,
obtaining any required approvals, including the Sale Authorization Order and
otherwise preparing for the Closing.

               (b)    The Parties agree to cooperate with one another to prepare and
file, or cause to be prepared and filed, with the relevant governmental authorities
all transfer tax returns, affidavits and other similar instruments, if any, required in
connection with the payment of the foregoing expenses. If and to the extent
Purchaser receives a credit at Closing with respect to any obligation or liability of
Seller, Purchaser shall indemnify, defend and hold Seller harmless from and against
any further obligation or liability with respect to same, which indemnification shall
survive the Closing.

             (c)   5.6     The provisions of this Article 5 shall survive the Closing
or the termination of this Agreement.

                           ARTICLE 6. CLOSING

         Section 6.1 Closing.

             (a)    Subject to the terms and conditions of this Agreement, the
Closing shall take place at the offices of Escrow Agent (or such other location as
may be mutually agreed upon by Seller and Purchaser), at and as of 10:00 A.M.

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(Central Time) on the Closing Date, TIME BEING OF THE ESSENCE. As used in
this Agreement, the term "Closing" means the transfer and assignment of the
Property to Purchaser and the performance by each Party of the obligations on its
part then to be performed under and in accordance with this Agreement.

              (b)   Notwithstanding any other provision herein to the contrary,
there shall be no requirement that Seller and Purchaser physically attend the
Closing, and all funds and documents to be delivered at the Closing may be
delivered to Escrow Agent unless the parties hereto mutually agree otherwise.
Purchaser and Seller hereby authorize their respective attorneys to execute and
deliver to Escrow Agent any additional or supplementary instructions as may be
necessary or convenient to implement the terms of this Agreement and facilitate the
closing of the transactions contemplated hereby, provided that such instructions are
consistent with and merely supplement this Agreement and shall not in any way
modify, amend or supersede this Agreement.

      Section 6.2 Closing Deliveries by Seller. At the Closing, Seller shall deliver
or cause to be delivered to Escrow Agent each of the following instruments and
documents:

            (a)    Deed. A trustees deed in substantially the form of Exhibit B
attached hereto (the "Deed"), duly executed by Seller and acknowledged.

            (b)    Bill of Sale. A quitclaim bill of sale in the form of Exhibit C
attached hereto (the "Bill of Sale"), duly executed by Seller.

             (c)    FIRPTA Affidavit. An affidavit, in the form of Exhibit E attached
hereto (the "FIRPTA Affidavit"), stating that it is not a "foreign person" under
Section 1445 of the Internal Revenue Code of 1986, as amended (the "Internal
Revenue Code").

             (d)    Seller's Affidavit. A Seller's affidavit in a form reasonably
acceptable to Seller and the Title Company (the "Seller's Affidavit").

              (e)   Tax Forms. Completed state, city and other documentary stamp,
transfer or other similar tax forms (to the extent required under applicable law).

             (f)   Closing Statement. A closing statement, duly executed by Seller
(the "Closing Statement").

            (g)    Other Documents, Etc. Such other documents or instruments as
Purchaser or Title Company reasonably may request to effect the transactions
contemplated in this Agreement without expense or liability to Seller.

               (h)   Keys, security codes and passwords to the Property.

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       Section 6.3 Closing Deliveries by Purchaser. At the Closing, Purchaser
shall deliver to Escrow Agent the following agreements, instruments and payments:

              (a)   Purchase Price. The Purchase Price, payable in the manner
provided for in Section 2.1 of this Agreement, and evidence satisfactory to Seller
that all costs and expenses required to be paid by Purchaser pursuant to this
Agreement have been paid.

               (b)   Bill of Sale. The Bill of Sale, duly executed by Purchaser.

            (c)     Tax Forms. Completed state, city and any other documentary
stamp, transfer or other similar tax forms (to the extent required by applicable law).

            (d)   Closing Statement. A counterpart of the Closing Statement, duly
executed by Purchaser.

              (e)  Other Documents, Etc. Such other documents or instruments as
Seller or Title Company reasonably may request to effect the transactions
contemplated in this Agreement without further expense or liability to Purchaser.

                              ARTICLE 7.
                     CONDITIONS PRECEDENT TO CLOSING

       Section 7.1 Conditions Precedent to Obligation of Purchaser. The obligation
of Purchaser to consummate the transactions contemplated herein shall be subject
to the fulfillment on or before the Closing Date, as applicable, of all of the following
conditions, any or all of which may be waived by Purchaser in its sole discretion:

             (a)   Delivery of Documents. Seller shall have delivered all of the
items required to be delivered to Purchaser pursuant to Section 6.2.

             (b)    Accuracy of Representations and Warranties. Subject to the
other provisions of this Agreement, including Section 2.2, the representations and
warranties of Seller in this Agreement shall be true and correct in all material
respects as of the Effective Date.

             (c)   No Injunction. No action, suit or legal or administrative
proceeding shall have been instituted by or before any agency, bureau, commission,
court, department, official, political subdivision, tribunal or other instrumentality of
any government, whether federal, state or local, domestic or foreign (referred to
herein as "Governmental Authority"), seeking to enjoin the transactions
contemplated by this Agreement, other than any such proceeding initiated by or on
behalf of Purchaser or any of Purchaser's Representatives.


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              (d)     Title. The Title Company shall have issued or shall be prepared
to issue, upon payment of the applicable premiums therefor, a title policy with
respect to the Real Property, showing title to the Real Property vested in Purchaser,
subject only to (i) customary, "pre-printed" exceptions, (the "Title Policy").

             (e)    Transactions Not Prohibited. No statute, rule, regulation,
temporary restraining order, preliminary or permanent injunction or other order
issued by any Governmental Authority or other legal restraint or prohibition
preventing the consummation by the Seller of the transactions contemplated by this
Agreement shall be in effect or, if applicable, have been threatened by any
Governmental Authority, other than any such order or other legal restraint or
prohibition or threat thereof requested or otherwise obtained by or on behalf of
Purchaser or any of Purchaser's Representatives.

            (f)   Sales Authorization Order. Entry of the Sale Authorization
Order by the Bankruptcy Court in a form reasonably acceptable to Seller and
Purchaser.

               (g)   The execution of an agreement or agreements by Purchaser and
Seller, prior to Closing, for a lease, license, management and/or profit-sharing
structure which will facilitate the continuous operation of the restaurant for 90 days
following Closing, with 2 additional 30-day options to extend, exercisable by the
Purchaser. In the event that Purchaser and Seller are unable to agree on such a
structure, all sums paid by the Purchaser to the Seller, including, but not limited to,
the Cash Deposit and the Additional Deposit, shall be refunded to the Purchaser
within 1 business day of the Purchaser’s transmittal of written notice to the Seller
of the termination of this Agreement on the basis that the parties are unable to
agree to a structure that will facilitate the continuous operation of the restaurant
for 90 days following Closing, with 2 additional 30-day options to extend,
exercisable by the Purchaser.

        Section 7.2 Conditions Precedent to Obligation of Seller. The obligation of
Seller to consummate the transactions contemplated herein shall be subject to the
fulfillment on or before the Closing Date of all of the following conditions, any or all
of which may be waived by Seller in its sole discretion:

             (a)   Delivery of Documents. Purchaser shall have delivered all of the
items required to be delivered to the Seller pursuant to Section 6.3.

             (b)    Purchaser has delivered the Cash Deposit and the Additional
Deposit in accordance with Section 2.3, and Seller is reasonably satisfied that
Purchaser is capable of delivering, and will deliver, the balance of the Purchase
Price at the Closing.


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             (c)    Accuracy of Representations and Warranties. The
representations and warranties of Purchaser contained in this Agreement shall be
true and correct in all material respects.

             (d)    Observance of Covenants. Purchaser shall have performed and
observed, in all material respects, all covenants and agreements in this Agreement
to be performed and observed by Purchaser as of the Closing Date.

             (e)     No Injunction. No action, suit or legal or administrative
proceeding shall have been instituted by or before any court or Governmental
Authority seeking to enjoin the transactions contemplated by this Agreement and
intended to occur at the related Closing, other than any such proceeding initiated by
or on behalf of Seller or any of its affiliates.

             (f)     Transactions Not Prohibited. No statute, rule, regulation,
temporary restraining order, preliminary or permanent injunction or other order
issued by any Governmental Authority or other legal restraint or prohibition
preventing the consummation by Purchaser of the transactions contemplated by
this Agreement shall be in effect, or, if applicable, have been threatened by any
Governmental Authority, other than any such order or other legal restraint or
prohibition or threat thereof requested or otherwise obtained by or on behalf of
Seller or any of its affiliates.

                          ARTICLE 8.
                  REPRESENTATIONS AND WARRANTIES

      Section 8.1 Representations and Warranties of Purchaser. Purchaser
hereby makes the following representations and warranties:

              (a)    Duly Authorized, Executed, and Delivered. If Purchaser
(whether original Purchaser or any assignee of original Purchaser) is an entity,
Purchaser represents and warrants to Seller that it is duly organized and validly
existing and in good standing under the laws of the state of its formation.
Purchaser further represents and warrants to Seller that this Agreement and all
documents executed by Purchaser that are to be delivered to Seller at Closing (i)
are, or at the time of Closing will be, duly authorized, executed and delivered by
Purchaser, (ii) do not, and at the time of Closing will not, violate any provision of
any agreement or judicial order to which Purchaser is a party or to which Purchaser
or any property or other assets owned by Purchaser is subject and (iii) constitutes
(or in the case of Closing Documents, will constitute) valid and legally binding
obligations of Purchaser, enforceable in accordance with their terms.

            (b)    Power and Authority. Purchaser has full and complete power
and authority to enter into this Agreement and to perform its obligations hereunder.

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              (c)   Consents. No consents are required to be obtained from, and no
filings are required to be made with, any Governmental Authority or third party in
connection with the execution and delivery of this Agreement by Purchaser or the
consummation by Purchaser of the transactions contemplated hereby.

               (d)   Sophisticated Investor. Purchaser is a sophisticated investor, is
represented by competent counsel, understands the assumption of risk and liability
set forth in this Agreement, and is experienced in, and knowledgeable about, the
ownership, management, leasing and purchase of commercial real estate, and has
relied and will rely exclusively on its own consultants, advisors, counsel, employees,
agents, principals and/or studies, investigations and/or inspections with respect to
the Property, its tax or legal status, condition, value and potential. Purchaser
agrees that, notwithstanding the fact that it has received certain information from
Seller or its agents or consultants, Purchaser has relied solely upon and will
continue to rely solely upon its own analysis and will not rely on any information
provided by Seller or its agents or consultants, except solely for the representations
expressly made in this Agreement.

            (e)   Affiliation. Purchaser is not affiliated in any manner
whatsoever with Record Owner or any of its Affiliates.

              (f)    OFAC. Purchaser is in compliance with the requirements of
Executive Order No. 133224, 66 Fed. Reg. 49079 (Sept. 25, 2001) (the “Order”) and
other similar requirements contained in the rules and regulations of the Office of
Foreign Assets Control, Department of the Treasury (“OFAC”) and in any enabling
legislation or other Executive Orders or regulations in respect thereof (the Order
and such other rules, regulations, legislation, or orders are collectively called the
“Orders”). Further, Purchaser covenants and agrees to make its policies, procedures
and practices regarding compliance with the Orders, if any, available to Seller for its
review and inspection during normal business hours and upon reasonable prior
notice. Purchaser is not:

                     (i)    listed on the Specially Designated Nationals and Blocked
Persons List maintained by OFAC pursuant to the Order and/or on any other list of
terrorists or terrorist organizations maintained pursuant to any of the rules and
regulations of OFAC or pursuant to any other applicable Orders (such lists are
collectively referred to as the “Lists”);

                    (ii)   a person or entity who has been determined by competent
authority to be subject to the prohibitions contained in the Orders; or

                    (iii) owned or controlled by, or acts for or on behalf of, any
person or entity on the Lists or any other person or entity who has been determined
by competent authority to be subject to the prohibitions contained in the Orders.

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If Purchaser obtains knowledge that Purchaser or any of its beneficial owners
become listed on the Lists or is indicted, arraigned, or custodially detained on
charges involving money laundering or predicate crimes to money laundering,
Purchaser shall immediately notify Seller in writing, and in such event, Seller shall
have the right to terminate this Agreement without penalty or liability to Seller
immediately upon delivery of written notice thereof to Purchaser, and, pursuant to
Section 9.2, Escrow Agent will transfer the Deposit to Seller. Purchaser has taken
measures as required by law to assure that funds to be used to pay the Purchase
Price are derived from legal sources and such measures have been undertaken in
accordance with the Bank Secrecy Act, 31 U.S.C. §§ 5311 et seq., and all applicable
laws, regulations and government guidance on compliance therewith and on the
prevention and detection of money laundering violations under 18 U.S.C. §§ 1956
and 1957. Purchaser (on behalf of itself and its successors and assigns) agrees to
indemnify, defend and hold Seller (and its successors and assigns) harmless from
and against any and all claims, demands, costs, expenses, liabilities, losses,
damages or causes of action, including, without limitation, attorneys' fees (which
attorneys' fees, without limiting the indemnity provided in this Section 8.1,
Purchaser agrees to pay) arising out of any breach by Purchaser of the
representations, warranties and covenants in this Section and such indemnity shall
survive Closing or other termination of this Agreement.

Each of the representations and warranties of Purchaser contained herein (i) is
made on the Effective Date, (ii) shall be deemed remade by Purchaser and/or its
assignee(s), as applicable, and shall be true and correct as of the Closing Date, and
(iii) shall survive the Closing.

      Section 8.2 Representations and Warranties of Seller. Subject to the
information disclosed in the Due Diligence Materials as of the Effective Date, Seller
hereby represents and warranties as follows:

              (a)   Consents. Except for the Sale Authorization Order, Seller has no
knowledge of any consents required to be obtained from any governmental authority
or third party in connection with the execution and delivery of this Agreement by
Seller or the consummation by Seller of the transactions contemplated hereby other
than consents that have been obtained (or will be obtained prior to Closing).

              (b)     Litigation. As of the Effective Date, Seller has not received
written notice of any litigation that is pending or threatened with respect to the
Property, except (i) litigation that is not reasonably likely to have a material
adverse effect on the value of the Property, (ii) litigation covered by insurance
policies (subject to customary deductibles) or (iii) litigation set forth in Schedule
8.2(b).



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              (c)    Law Compliance. As of the Effective Date, Seller has not
received any written notice from any Governmental Authority that all or any
portion of the Property are in material violation of any applicable building codes,
zoning law or land use law, or any applicable local, state or federal law or regulation
relating to the Property, which material violation has not been cured or remedied in
accordance with applicable law prior to the Effective Date or which will not be cured
at or prior to Closing.

                (d)    Duly Authorized, Executed, and Delivered. Subject to the terms
of the Trustee Order and any order of the Bankruptcy Court, this Agreement and all
documents executed by Seller that are to be delivered to Purchaser before or at
Closing (i) are, or at the Closing will be, duly authorized, executed and delivered by
Seller, (ii) do not, or at the Closing will not, violate any provision of any agreement
or judicial order to which Seller is a party or to which Seller or any Property owned
by Seller is subject, and (iii) constitute (or in the case of Closing Documents, will
constitute) valid and legally binding obligations of Seller, enforceable in accordance
with their terms subject to bankruptcy, insolvency, fraudulent transfer,
reorganization, moratorium and similar laws of general applicability relating to or
affecting creditors' rights.

             (e)    Power and Authority. Subject to the terms of the Trustee Order
and any order of the Bankruptcy Court, Seller has full and complete power and
authority to enter into this Agreement and, subject to obtaining any consents or
waivers required to be obtained prior to Closing, to perform Seller’s obligations
hereunder and under all documents executed by Seller that are to be delivered to
Purchaser before or at Closing. The individual(s) executing this Agreement and the
instruments referenced herein on behalf of Seller have the legal power, right and
actual authority to bind the Bankruptcy Estate to the terms hereof and thereof.

      Section 8.3 Limitation on Liability and Survivability of Seller's
Representations and Warranties.

                (a)   Notwithstanding any provision to the contrary herein or in any
document or instrument (including any deed or assignment) executed by Seller and
delivered to Purchaser at or in connection with the Closing (collectively, “Closing
Documents”), the representations and warranties of Seller contained herein or in
any Closing Document shall not survive the Closing but shall terminate and be of
no further force or effect upon the consummation of the Closing, and Seller shall not
have (and Seller is exculpated and released from any) liability whatsoever with
respect to any suits, actions, proceedings, investigations, demands, claims,
liabilities, fines, penalties, liens, judgments, losses, injuries, damages, expenses or
costs, including attorneys’ and experts’ fees and costs of investigation and
remediation costs (collectively “Representation and Warranty Claims”) under, and
Purchaser shall be forever barred from making or bringing any Representation and

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Warranty Claims with respect to, any of the representations and warranties
contained in this Agreement or in any Closing Document. Purchaser acknowledges
and agrees that it will have the opportunity to independently verify the accuracy of
Seller’s representations and warranties during the Due Diligence Period, and if
Purchaser elects to close under this Agreement it shall do so without any reliance
upon, or the right to rely upon, any of Seller’s representations and warranties, all of
which are waived effective as of the Closing.

                              ARTICLE 9.
                         TERMINATION AND DEFAULT

       Section 9.1 Termination by Purchaser. Except as otherwise provided in
Section 9.3, Section 7.1, Section 4.3, or Section 4.4, if this Agreement is terminated
by Purchaser pursuant to its rights to terminate as expressly provided elsewhere in
this Agreement then the Parties agree that the Escrow Agent will promptly pay the
Deposit to Seller as consideration for this Agreement, and Purchaser and Seller
shall have no further rights, obligations or liabilities hereunder, other than those
which by their terms survive termination of this Agreement.
         Section 9.2 Purchaser's Default; Liquidated Damages Deposit.

          (a)  IF PURCHASER FAILS TO PERFORM ITS OBLIGATIONS
PURSUANT TO THIS AGREEMENT AT OR PRIOR TO CLOSING (FOR ANY
REASON EXCEPT FAILURE BY SELLER TO PERFORM HEREUNDER), OR IF
PRIOR TO CLOSING ANY ONE OR MORE OF PURCHASER'S
REPRESENTATIONS OR WARRANTIES ARE BREACHED IN ANY MATERIAL
RESPECT, SELLER SHALL BE ENTITLED TO TERMINATE THIS AGREEMENT
(EXCEPT THE PROVISIONS HEREOF AND THEREOF WHICH EXPRESSLY
SURVIVE TERMINATION) AND, IN ADDITION TO ANY OTHER REMEDIES,
INCLUDING, WITHOUT LIMITATION, A SUIT FOR DAMAGES.

             (b)   The provisions of this Section 9.2 shall survive any termination
of this Agreement.

       Section 9.3 Seller's Default. If, on the Closing Date, Seller is in material
default of this Agreement (for the avoidance of doubt, the failure of Seller to satisfy
a condition to Purchaser's obligation to proceed to Closing shall not be deemed a
default or material default hereunder), Purchaser, as its sole and exclusive remedy,
shall have the right to terminate this Agreement by giving Seller written notice
thereof, whereupon Escrow Agent shall return the Deposit to Purchaser. The
provisions of this Section 9.3 shall survive any termination of this Agreement.
PURCHASER ACKNOWLEDGES AND AGREES THAT PURCHASER SHALL
NOT HAVE ANY RIGHT TO SEEK SPECIFIC PERFORMANCE OF THIS
AGREEMENT AND EXPRESSLY WAIVES ANY AND ALL RIGHTS ARISING

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UNDER APPLICABLE LAWTO SEEK SPECIFIC PERFORMANCE OF SELLER’S
OBLIGATION UNDER THIS AGREEMENT.

                     ARTICLE 10. MISCELLANEOUS

       Section 10.1 Broker. Seller and Purchaser expressly acknowledge that
Broker has acted as Seller's exclusive agent with respect to the transaction
contemplated herein and with respect to this Agreement, and that Seller shall pay a
real estate brokerage commission to Broker pursuant to a separate agreement
between Seller and Broker. Purchaser has been represented by @Properties as its
broker with respect to this transaction, and the parties agree that @Properties shall
be entitled to a two percent (2%) broker’s fee in cash, at closing. Each of Seller and
Purchaser represents and warrants to the other that, except as set forth herein, it
has not dealt with any other broker in connection with this transaction and each
agrees to hold harmless the other and indemnify the other from and against any
and all damages, costs or expenses (including, but not limited to, reasonable
attorneys' fees and disbursements) suffered by the indemnified Party as a result of
acts of the indemnifying Party that would constitute a breach of its representation
and warranty in this Section. The provisions of this Section 10.1 shall survive the
Closing or termination of this Agreement.
       Section 10.2 Further Assurances. Seller and Purchaser agrees at any time
and from time to time after the Closing, to execute, acknowledge, where
appropriate, and deliver such further instruments and documents and to take such
other action as Seller or Purchaser (or its affiliates) may reasonably request in order
to carry out the intent and purpose of this Agreement. The provisions of this Section
10.2 shall survive the Closing.
       Section 10.3 Notices. Any notices required or permitted to be given
hereunder shall be given in writing and shall be delivered (a) in person, (b) by a
commercial overnight courier that guarantees next day delivery and provides a
receipt, or (c) by certified mail return receipt requested, postage prepaid, and shall
be served on the parties at the addresses set forth in Section B-2 above. Any of the
Parties may change its address for the receipt of notices, demands, consents,
requests and other communications by giving written notice to the other Parties in
the manner provided for above. Any notice shall be effective only upon receipt (or
refusal by the intended recipient to accept delivery).
       Section 10.4 Assignment. Purchaser shall not have the right to assign,
transfer, convey and/or otherwise sell (or enter into any agreement to do the same),
directly or indirectly, any interest it may have in or under this Agreement without
first having obtained the written consent of Seller, which consent may be withheld
in Seller's sole and absolute discretion. The foregoing notwithstanding, Purchaser
may assign its rights under this Agreement without Seller's consent only upon the
following conditions: (i) the assignee of Purchaser must be an affiliate of Purchaser

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or an entity controlling, controlled by, or under common control with Purchaser or a
special purpose entity created by Purchaser and in which Purchaser has an
ownership interest, (ii) all of the Deposit must have been delivered in accordance
herewith, (iii) the assignee of Purchaser shall assume all obligations of Purchaser
hereunder, but Purchaser shall remain primarily liable for the performance of
Purchaser's obligations to the extent accruing prior to such assignment, (iv) a copy
of the fully executed written assignment and assumption agreement shall be
delivered to Seller at least five (5) days prior to Closing and (v) the Bankruptcy
Court has approved such assignment. Upon any such assignment and/or
conveyance of the Property or any portion thereof to the assignee of Purchaser, all
disclaimers, waivers, releases, indemnities and other protections afforded Seller by
the terms of this Agreement, and all covenants, representations, warranties and
obligations of Purchaser hereunder, shall apply to and be binding on said assignee.
       Section 10.5 Third Party Beneficiaries. The provisions of this Agreement
shall be binding upon and inure to the benefit of the Parties hereto and their
respective successors and permitted assigns, but shall not inure to the benefit of, or
be enforceable by, the Title Company, Escrow Agent or any other Person.
      Section 10.6 Waiver. Neither this Agreement nor any term hereof may be
changed, waived, discharged or terminated orally, but only by an instrument in
writing signed by the Party against whom the enforcement of the change, waiver,
discharge or termination is sought or, in the case of a default waiver, by the non-
defaulting Party or Parties.
       Section 10.7 Incorporation of Recitals and Schedules. The Recitals to this
Agreement and the Exhibits and Schedules attached hereto are hereby incorporated
by reference into the body of this Agreement and made a part hereof.
         Section 10.8 Confidentiality.

              (a)    Purchaser acknowledges the confidential and proprietary nature
of the Due Diligence Materials and information provided to Purchaser. Purchaser
agrees that all information obtained by Purchaser (i) shall be kept confidential by
the Purchaser; (ii) shall not be used for any reason or purpose other than to
evaluate and/or consummate the transaction contemplated herein; and (iii) shall not
be disclosed by the Purchaser to any person other than Purchaser’s attorney(s),
lender(s), accountant(s), property manager(s), consultant(s) or advisor(s) for the
purpose of evaluating the transaction contemplated herein. Seller shall be entitled,
in addition to all other remedies available to it at law or in equity, to seek injunctive
and other equitable relief to prevent a breach of the confidentiality provisions of this
Agreement and to secure the enforcement of confidential provisions of this this
Agreement. If any legal action or other proceeding is brought for the enforcement or
interpretation of any of the rights or provisions of this Agreement, the successful or
prevailing party shall be entitled to recover reasonable attorney fees and all other


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costs and expenses incurred in that action or proceeding, in addition to any other
relief to which it may be entitled. This Section 10.8 shall survive the Closing or any
termination of this Agreement.

              (b)   After Closing, Seller or Purchaser may issue a press release with
respect to this Agreement and the transactions contemplated hereby.

      Section 10.9 Merger. All understandings and agreements heretofore had
between the Parties hereto are merged in this Agreement and the instruments and
documents referred to herein, which fully and completely express their agreements
with respect to the transactions contemplated herein, and supersede all prior
agreements, written or oral, with respect thereto.
     Section 10.10  Governing Law. WITH RESPECT TO THE PROPERTY
AND THIS AGREEMENT, THIS AGREEMENT AND THE TRANSACTIONS IT
CONTEMPLATES ARE INTENDED TO BE PERFORMED IN THE STATE OF
ILLINOIS AND THE LAWS OF ILLINOIS (EXCLUSIVE OF CHOICE OF LAW
PRINCIPLES THAT WOULD APPLY THE LAW OF A DIFFERENT STATE) AND
SHALL GOVERN ALL ASPECTS OF THIS AGREEMENT AND THE
TRANSACTIONS THIS AGREEMENT CONTEMPLATES, EXCEPT TO THE
EXTENT ILLINOIS LAW AND THE PROVISIONS OF THE BANKRUPTCY CODE
ARE INCONSISTENT OR CONFLICTING, IN WHICH CASE THE
BANKRUPTCY CODE PROVISIONS SHALL APPLY AND BE CONTROLLING.
        Section 10.11       Venue for Disputes.. The Parties agree that the
Bankruptcy Court shall be the exclusive venue for any suit, action or proceeding to
enforce or implement any term or condition of this Agreement or to hear, consider or
adjudicate any issues regarding the marketing or sale of the Property or any other
transaction related thereto (an “Action”), including, but not limited to, any Action
related to any claims or disputes regarding this Agreement or the transaction
contemplated by this Agreement or arising as a result of any claimed breach of this
Agreement; provided, however, if the Bankruptcy Court is unable or unwilling to
exercise such jurisdiction, the state or federal courts, as applicable, in Cook County,
Illinois shall be the exclusive venue for an Action. Each of the Parties consents and
submits to the jurisdiction of any state or federal court in Cook County, Illinois, and
waives any objection to the venue of any such Action so long as it in an applicable
court in Cook County. The Parties recognize that courts other than the Bankruptcy
Court or the state or federal courts in Cook County may also have jurisdiction over
an Action, and in the event any Party institutes an Action in a jurisdiction outside
Cook County, the Party instituting such proceeding shall indemnify any other Party
hereto for any losses and expenses that may result from the breach of the foregoing
covenant to institute such proceeding only in a state or federal court in Cook
County, including without limitation any additional expenses incurred as a result of
litigating in another jurisdiction, such as reasonable fees and expenses of local


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counsel and travel and lodging expenses for parties, witnesses, experts and support
personnel. The provisions of this Section 10.11 shall survive the Closing and any
termination of this Agreement.
       Section 10.12      Captions. The captions and Article headings included in
this Agreement and the table of contents are for convenience only, do not constitute
part of this Agreement and shall not be considered or referred to in interpreting the
provisions of this Agreement.
       Section 10.13       Counterparts. This Agreement may be executed in two or
more counterparts, each of which shall be deemed to be an original, but all of which
shall constitute one and the same instrument. The submission of a signature page
transmitted by facsimile (or similar electronic transmission facility, including PDF
via email) shall be considered as an "original" signature page for purposes of this
Agreement.
       Section 10.14        Severability. If any provision hereof is held invalid or not
enforceable to its fullest extent, such provision shall be enforced to the extent
permitted by law, and the validity of the remaining provisions hereof shall not be
affected thereby.
       Section 10.15        Prior Negotiations; Construction. No negotiations
concerning or modifications made to prior drafts of this Agreement shall be
construed in any manner to limit, reduce or impair the rights, remedies, duties and
obligations of the Parties under this Agreement or to restrict or expand the meaning
of any of the provisions of this Agreement or to construe any of the provisions of this
Agreement in any Party's favor. The Parties acknowledge that each Party and its
counsel have reviewed and revised this Agreement and that the normal rule of
construction to the effect that any ambiguities are to be resolved against the
drafting Party shall not be employed in the interpretation of this Agreement or any
amendment, Schedule or Exhibit hereto.
      Section 10.16         Litigation Expenses. In the event that either Seller or
Purchaser is required to employ an attorney because any litigation between the
Parties arises out of this Agreement, the non-prevailing Party shall pay the
prevailing Party all reasonable fees and expenses, including attorneys' fees and
expenses, incurred in connection with such litigation.
     Section 10.17  WAIVER OF TRIAL BY JURY. SELLER AND
PURCHASER HEREBY WAIVE, TO THE FULLEST EXTENT PERMITTED BY
LAW, THE RIGHT TO TRIAL BY JURY IN ANY ACTION, PROCEEDING OR
COUNTERCLAIM FILED BY THE SELLER OR PURCHASER, WHETHER IN
CONTRACT, TORT OR OTHERWISE, WHICH RIGHT OR CLAIM RELATES
DIRECTLY OR INDIRECTLY TO THIS AGREEMENT, ANY MATTER RELATED
HERETO, OR ANY ACTS OR OMISSIONS IN CONNECTION WITH THIS



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AGREEMENT. THIS WAIVER HAS BEEN AGREED TO AFTER CONSULTATION
WITH LEGAL COUNSEL SELECTED BY PURCHASER AND SELLER.
       Section 10.18       Business Day Convention; Time of Essence. If the date on
which, or time period by which, any right, option, election or other matter provided
under this Agreement must be exercised, or by which any act required hereunder
must be performed, or by which the Closing shall occur, falls or expires on a day
that is not a Business Day, then such date or time period shall be automatically
deferred or extended until the close of business on the next Business Day. The
Parties agree that time is of the essence with respect to obligations of the Parties
set forth in this Agreement including but not limited to each of the dates and time
periods provided for in this Agreement.
       IN WITNESS WHEREOF, the Parties hereto have executed this Agreement as of the day
and year first above written.




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                           EXHIBITS AND SCHEDULES

         EXHIBITS

         EXHIBIT A         Legal Description of Real Property

         EXHIBIT B         Form of Trustee’s Deed

         EXHIBIT C         Form of Bill of Sale

         EXHIBIT D         Form of FIRPTA Certificate



         SCHEDULES

         SCHEDULE 8.2(d) Pending Litigation




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                               EXHIBIT A
                    Legal Description of Real Property




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                                    EXHIBIT B
                              Form of TRUSTEES Deed

         This document was prepared by:




Upon recording return to:




                                TRUSTEE’S DEED

       Robert Handler, not in his individual, personal or other capacity, other than
in his capacity as ("Grantor"), Subchapter V Trustee with expanded powers for Cite
LLC, pursuant to an order of the United States Bankruptcy Court of the Northern
District of Illinois, Eastern Division, case number 21-13730 ,whose address is c/o
Commercial Recovery Associates, LLC, 205 W Wacker Drive, Suite 918, Chicago, IL
60606, in consideration of the sum of Ten Dollars ($10.00) and other good and
valuable consideration, the receipt and sufficiency of which is hereby acknowledged,
does by these presents SELL AND CONVEY unto Lakeshore Commercial
Properties LLC ("Grantee"), whose address is 505 N. Lake Shore Drive, Chicago, IL
60611 its successors and assigns, the lots, tracts or parcels of land lying, being and
situated in the County of Cook, in the State of Illinois, the common address of which
is 505 N. Lake Shore Drive, Chicago, IL 60611, which is legally described on
Exhibit A attached hereto and incorporated herein by reference, subject to the
matters set forth on Exhibit B attached hereto and incorporated herein by
reference (collectively, the "Permitted Exceptions") pursuant to an Order
Authorizing Sale entered by the United States Bankruptcy Court for the Northern
District of Illinois Eastern Division, a copy of which is attached (“Sale Authorization
Order”).

       TO HAVE AND TO HOLD the premises aforesaid with all and singular the
rights, privileges, appurtenances and immunities thereto belonging or in any wise
appertaining unto said Grantee and its successors and assigns forever, subject to the

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Permitted Exceptions, said Grantor hereby covenanting that the premises are free
and clear from any encumbrance done or suffered by Grantor; and that Grantor will
warrant and defend the title to said premises unto the said Grantee and its successors
and assigns forever, against the lawful claims and demands of all persons claiming
by, under or through Grantor but not otherwise pursuant to the Sale Authorization
Order.

       IN WITNESS WHEREOF, this Trustee’s Deed has been executed by Grantor
as of the acknowledgement date below to be effective as of the August 1, 2022.

                                       GRANTOR:


                                       By:
                                       Name:
                                       Its:




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THE STATE OF ______________ §
                            §
COUNTY OF ________________ §

The foregoing instrument was acknowledged before me this ______ day of
_________________________, 2022 by _____________________, the ____________________
of __________________________, a[n] _______________________________, on behalf of said
_____________________.


                                        Notary Public

         [NOTARIAL STAMP OR SEAL]

         Send tax bills to:




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                                       EXHIBIT C
                             Form of QUIT CLAIM Bill of Sale

        THIS QUIT CLAIM BILL OF SALE (this "Bill of Sale"), dated as of August 1, 2022 (the
"Effective Date"), by and between (i) ___________________________, a[n]
____________________      ("Seller"),     and      (ii)     _______________________,           a
[___________________] (the "Purchaser"), (collectively, the "Parties" and individually, "Party").

                                     R E C I T A L S:
      WHEREAS, the Seller is the owner of the property located in the City of ______________,
____________, and more particularly described in Exhibit A attached hereto (the "Property").

        WHEREAS, pursuant to that certain Purchase and Sale Agreement, dated as of
[___________, 20___] (the "Purchase Agreement"), by and among the Seller and the Purchaser,
the Seller has agreed to sell, transfer, assign and deliver all of its right, title and interest in and to
the Personal Property, all as more specifically identified below.

        NOW, THEREFORE, in consideration of the premises, covenants and agreements
contained herein and in the Purchase Agreement, and other good and valuable consideration, the
receipt and sufficiency of which is hereby acknowledged, the undersigned hereby agree as follows:

                                        A G R E E M E N T:

1.       Seller hereby sells, grants, conveys, transfers, sets over and delivers to
         Purchaser pursuant to an Order Confirming Sale of the United States
         Bankruptcy Court of the Northern District of Illinois Eastern Division, a copy
         of which is attached (“Sale Authorization Order”), Seller's right, title and
         interest in and to:

         All (i) items of tangible personal property consisting of all furniture,
         fixtures, equipment, machinery, and other tangible personal property
         located at the Real Property, including all inventories of food and
         beverage in opened and unopened containers and all in-use or stock of
         linens, china, glassware, silver, uniforms, towels, paper goods,
         stationery, soaps, cleaning supplies and the like with respect to the
         restaurant on hand as of the Closing Date (the "Inventory"), and any
         warranties and guaranties relating to the Personal Property.

2.       Purchaser hereby accepts the Personal Property from the Seller "AS IS,
         WHERE IS AND WITH ALL FAULTS", and without any representation or
         warranty, express or implied, by the Seller or any third person regarding the
         condition, quantity, design, merchantability, fitness or quality thereof.

3.       The agreements, covenants and terms thereof shall be binding upon and inure
         to the benefit of the successors and assigns of the Parties hereto.

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4.       Capitalized terms not otherwise defined in this Bill of Sale shall have the
         meaning ascribed to such terms in the Purchase Agreement.

5.       This Bill of Sale shall be governed by, and interpreted in accordance with, the
         laws of the State of Illinois.

6.       This Bill of Sale may be executed in one or several counterparts, and each
         counterpart so executed shall be deemed to be an original for all purposes
         hereunder.

       IN WITNESS WHEREOF, the Parties hereto have caused this Bill of Sale to be duly
executed as of the day and year first above written.

                                          SELLER:



                                          By:
                                          Name:
                                          Its:

                                          PURCHASER:



                                          By:
                                          Name:
                                          Its:




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                                 EXHIBIT D




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                                        EXHIBIT E
                                Form of FIRPTA Certificate

        Section 1445 of the Internal Revenue Code provides that a transferee of a
U.S. real property interest must withhold tax if the transferor is a foreign person.
To inform the transferee that withholding of tax is not required upon the disposition
of a United States real property interest by the undersigned ("Seller"), Seller hereby
certifies:

1.       Seller is not a foreign corporation, foreign partnership, foreign trust or
         foreign estate (as those terms are defined in the Internal Revenue Code and
         the Income Tax Regulations);

2.       Seller's U.S. employer identification number is [__________________]; and

3.       Seller's office address is:

                             _______________________________
                       _______________________________
                       _______________________________
                       _______________________________

       Seller understands that this certification may be disclosed to the Internal
Revenue Service by the transferee and that any false statement contained herein
could be punished by fine, imprisonment or both.

      Under penalties of perjury, I declare that I have examined this certification
and to the best of my knowledge and belief it is true, correct and complete, and I
further declare that I have authority to sign this document on behalf of Seller.

                                          By:
                                          Name:
                                          Its:




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                             SCHEDULE 8.2(d)
                        Pending (or stayed) Litigation

                  1.    In re CITE, LLC, bankruptcy case pending in the United
States Bankruptcy Court for the Northern District of Illinois.

                   2.    Lake Point Tower Condominium Association v. Cite, LLC,
et al. 2020 CH 01706

                   3.     A. Abboud-Vs-Cite, Llc, Evangeline Gouletas, Point Lake,
Equities Skyline, Skyline On Brickell, Ltd.,At Skyline, 2020L050150.

                  4.     Republic Bank Of Chicago, Anselno Linber Associatio,
Consolidate With Case, 20ch1705 3/11/20-Vs-Cite, Llc, Evangeline Gouletas, 2019
CH 11609.




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